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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 SUE GREENE, Individually and as Next         §
 Friend of DAYSVONNE GREENE and               §
 LAJOYIA GREENE, ET AL.                       §
                                              §
 v.                                           §     CASE NO. 6:15cv785-RWS-JDL
                                              §
 DAVID CECIL PIERCY, MARTEN                   §
 TRANSPORT, LTD, and MARTEN                   §
 TRANSPORT SERVICES, LTD.                     §


                         ORDER ON STIPULATION OF DISMISSAL

      . Before the Court is the “Stipulation of Dismissal” filed on October 29, 2016. Pursuant to

 the joint representations made in this pleading, it is hereby ORDERED that all causes of

 action asserted by the Plaintiffs, Sue Greene, Individually and as Next Friend of Daysvonne

 Greene and Lajoyia Greene, et al. against Defendants, David Cecil Piercy, and Marten

 Transport, Ltd., Marten Transport Services, Ltd., in this civil action be and hereby are

 DISMISSED WITH PREJUDICE.
        IT IS FURTHER ORDERED that all attorney fees and costs are to be borne by the

 party that incurred them.
        SIGNED this 2nd day of November, 2016.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
